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                       IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

  ____________________________________________________________________________


  CENTER FOR BIOLOGICAL DIVERSITY,
                                                              Case No. 20-CV-2554 (ECT/JFD)
                        Plaintiffs,


  vs.

  SARAH STROMMEN in her official
  capacity as Commissioner of the Department
  of Natural Resources,

                    Defendant,

  and

  Minnesota Trappers Association, National
  Trappers Association, and Fur Takers of
  America, Inc.,

                    Applicant Defendant
                    Intervenors.



                 NOTICE OF HEARING ON MOTION TO INTERVENE

PLEASE TAKE NOTICE that the above-titled motion is being filed in accordance with the
directions received from the presiding judge’s courtroom deputy:

_____ A hearing on the above-titled motion will take place at a date and time to be determined
and I/We received the following filing instructions from the presiding judge’s courtroom deputy
on this motion:

 X A hearing for the above-titled motion will take place on March 9, 2022, at 10:00 a.m. by
Videoconference (Zoom), before the Honorable Magistrate Judge John F. Docherty.

         I/We will move the court for an Order allowing Applicant Defendant Intervenors,
Minnesota Trappers Association, National Trappers Association, and Fur Takers of America,
Inc. to intervene in this matter as Defendants.



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      Dated: February 18, 2022

                                   RINKE NOONAN, LTD.


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                                   ASSOCIATION, NATIONAL TRAPPERS
                                   ASSOCIATION, FUR TAKERS OF AMERICA,
                                   INC.




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